AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2}

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

8:(9-M3-243  |Morch 25,20 1%at 4:50AM [Tudy Regnier

 

 

 

Inventory made in the presence of :

Ny imee Schab. liew, Gectak Agent

 

Inventory of the property taken and name of any person(s) seized:

See attached inventory

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

it a aia ala

Execuling officer’s signature

braces He li lias, Special Agent

Printed naive and title

 

 

 

 
Inventory Listing of All Items Seized at Search Warrant Site

Site Name: Investigation Number: Report Date:
4491 Rainbow Lane 1000290795 Monday, March 25, 2019
Yorba Linda, CA 92886 Starting Date and Time:

General Search
Residence of Judy Regnier- 03/25/2019 10:16 AM

 

General Ending Date and Time:
03/25/2019 04:13 PM
Control #: 1 Evidence Box: 1
Location: Storage Shed LocatorCode: J
Found: On Floor

Description: Seized per Warrant Binders with cover letter containing corporate records for
Tully's Coffee, Doppio Inc., Global Baristas, and GB
Autosports

 

 

Control #: 2 Evidence Box: 2

Location: Storage Shed LocatorCode: J

Found: In Shed

Description: Seized per Warrant Desert Harvest Project File, LA Bank and Trust 2016
Reconciliation, Desert Harvest checks, inventories and
correspondance, Honda Jet purchase file, CBT Passport 420

LLC Letters, EBT 21932 Parthenia LLC letters, CBT were still
here and files, and aviation records.

 

 

Control #: 3 Evidence Box: 3
Location: Storage Shed LocatorCode: J
Found: On Floor in Banker's Box

Description: Seized per Warrant Banker's Box Labeled "Judy's Office" containing epense
invoices, fee agreements, tax bills for years 2017 and 2018
Avenatti et. al.

 

 

Control #: 4 Evidence Box: 4

Location: Storage Shed LocatorCode: J

Found: On Floor

Description: Seized per Warrant Re: 2013-2018 - re Michael Avenatti. Box containing:
Records,in including promissary notes, invoices, employment
contracts, payroll records, property records, payroll records
and IRS letters re: Michael Avenatti.

 

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Control #: 5 Evidence Box: 5

Location: Storage Shed LocatorCode: J

Found: On Floor by J1 and J2 Labels

Description: Seized per Warrant Michael Avenatti - 2011 tax correspondence from Pope &
Associates, APC. Michael Avenatti 2010 Tax
correspondence/letters from Pope & Associates, APC tax
organizer.

Control #: 6 Evidence Box: 5

Location: Storage Shed LocatorCode: J

Found: On Floor

Description: Seized per Warrant Bills, Bank Statements from City National Bank, canceled
checks, notices from EDD and Washington Department
Revenue.

Control #: 7 Evidence Box: 5

Location: Storage Shed LocatorCode: J

Found: In Box Labeled "Judy's House"

Description: Seized per Warrant Payment records in file labeled "Judy Regnier". The Fight
PAC correspondence and account agreement, back-up for
November email.

Control #: 8 Evidence Box: 6

Location: Kitchen/Dine/Living Locator Code: C-4

Found: Floor of Living Room

Description: Seized per Warrant Per Judy Regnier: box contains 100% related to Eager
Avenatti. Box is labeled "Client Retainer Agreements" and
employee records.

Control #: 9 Evidence Box: 7

Location: Office Locator Code: —_H-1

Found: In Box on Floor

Description: Seized per Warrant Apple | Phone

Control #: 10 Evidence Box: 7

Location: Office Locator Code:  4H-1

Found: In Box on Floor

Description: Seized per Warrant Apple Laptop "EA-LT07" S/N: CO2G4BE9DJWR

Control #: 11 Evidence Box: 7

Location: Office Locator Code: H-4

Found: On Desk

Description: Seized per Warrant Flash Drive: "Staples 32", Flash Drive: "Staples RELA", Flash

Drive Lexar 16G

 

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Control #: 12 Evidence Box: /7
Location: Office Locator Code: H-4
Found: On Desk
Description: Seized per Warrant Seagate Back-up Plus S/N NA7ZY5P3

Installed in Apple Mac All in One: Lexar Flash Drive Model:

LJDTT16G
Control #: 13 Evidence Box: 7
Location: Office Locator Code: H
Found: On Floor
Description: Seized per Warrant HP 2210 S/N: 2UA1270P8K
Control #: 14 Evidence Box: 7
Location: Office Locator Code: H-4
Found: On Desk
Description: Seized per Warrant Western Digital Elements S/N: WX61A18LKKBR
Control #: 15 Evidence Box: 7
Location: Office Locator Code: H-4
Found: On Desk
Description: Seized per Warrant Apple All in One S/N: QP1202JHSC
Control #: 16 Evidence Box: /7
Location: Office LocatorCode: H-4
Found: Files on Desk
Description: Seized per Warrant Flash Drive - "Staples 32",

Inserted in Mac all in One - Flash Drive "Staples 32"
Control #: 17 Evidence Box: 7
Location: Kitchen/Dine/Living LocatorCode: C
Found: On Counter
Description: Seized per Warrant Apple Iphone S/N: F2LVLR32JCLM and Applie Iphone S/N:

GOPVR4JCL6
Control #: 18 Evidence Box: 7
Location: Office Locator Code:  4H-4
Found: In Box on Desk
Description: Seized per Warrant Apple Iphone S/N: C6KSDAX9HG74
Control #: 19 Evidence Box: 7
Location: Office Locator Code: H-4
Found: Found in Desk Drawer
Description: Seized per Warrant 2 Apple iphones model: A-1688

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Control #: 20 Evidence Box: 7

Location: Office Locator Code: H-3

Found: Right of Desk on Floor

Description: Seized per Warrant Apple Iphone model: A-1549

Control #: 21 Evidence Box: 8

Location: Storage Shed Locator Code: J

Found: On Floor

Description: Seized per Warrant Files and Docs related to IRS, California Bank & Trust
Statements, checks, deposit slips, bills, insurance docs.
EDD Correspondences, Lawsuit with Landlord, Court Info.

Control #: 22 Evidence Box: 9

Location: Storage Shed LocatorCode: J

Found: In Shed

Description: Seized per Warrant Box Labeled: Judy's Office. Bankruptcy Records, Invoices,
Letters from Federal, State and Local Governemnt.
2011-2017

Control #: 23 Evidence Box: 5

Location: Office Locator Code: H-4

Found: Top of Desk

Description: Seized per Warrant Email Correspondence reg: payments dated 3/8/2019 to
Michael Avenatti. Bank Records reg: Michael Avenatti BAnk
Acct. Dated 12/28/18.

Control #: 24 Evidence Box: 5

Location: Office Locator Code: 4H

Found: Floor of Room

Description: Seized per Warrant Augustas LLP “Michael Avenatti". Union Bank Account
Application, dated 2019. Wire Instructions, Token Info/ID,
Blank Check, Miscellaneous Deposit Records.

Control #: 25 Evidence Box: 10

Location: Storage Shed LocatorCode: J

Found: In Box (EA 0699)

Description: Seized per Warrant JMF Folder - Profit & Loss detail for EA LLP: 2014-2015, EA -

Trial Balance 2014. Red Folder: EA Deatiled expense report
for 2013-2015 and 2016 Vendor Contact list EA LLP. Green
Folder: EA payments to Jason Frank 2013-2015.

 

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Control #: 26 Evidence Box: 11

Location: Storage Shed Locator Code: J

Found: In Box on Floor

Description: Seized per Warrant Corporate Filing, Registrations, licenses, bank statements
and records, IRS and State Revenue Departemnt
Correspondance, legal services agreements, financial
agreements, attorney biling records for Global Baristas, GB
Auto Sports, Doppio

Control #: 27 Evidence Box: 12

Location: Storage Shed LocatorCode: J

Found: In Box Labeled "Judy's Office:

Description: Seized per Warrant CBT Eagan Avenatti 2018 bank reconciliation, 2013 Desk
records 2014, CBT statements. Bank records for 2015 CBT
2699, 2015 CBT 8541, 2015 CBT 7849, 2015 CBT, 2851,
CBT Deposits. Bankruptcy Documents.

Control #: 28 Evidence Box: 5

Location: Storage Shed LocatorCode: J

Found: Between J-1 and J-2

Description: Seized per Warrant California Bank and Trust, Global Baristas US LLC Bank
Statement, CB&T Avenatti & Associates, IRS
Correspondences, Form 8821, Form 2848, Ikaria Intl, SEC
of State Filing, IRS Due Notices, Boyd & Assoc., Security
Bill, Michael Avenatti V.P. Morgan Statement, Coblentz
Patum Duffy & Bass LLP Bill, IMSA vs. Global Baristas
lawsuit, Various Form 10995, Michael Avenatti 2017 W-2,
Quy Supply Store Certificate, Phan & Tran Litigation, John
Hancock Retirement Account, Jason Frank Settlement

Control #: 29 Evidence Box: 7

Location: Entry Way LocatorCode: L

Found: Found in Bin on Floor

Description: Seized per Warrant Apple Laptop S/N: CO2G48EADJWR

Control #: 30 Evidence Box: /7

Location: Office Locator Code: H-4

Found: On Desk

Description: Seized per Warrant Apple lpad S/N: DMPHFTCODVGJ

Control #: 31 Evidence Box: 7

Location: Office Locator Code: H-3

Found: On Floor

Description: Seized per Warrant Apple lpad S/N: DKVGTKCDFJ3

 

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Control #: 32 Evidence Box: 5

Location: Storage Shed LocatorCode: J

Found: Middle of Storage Unit

Description: Seized per Warrant CB &T communications, bank statements, 2016 W-2, Large
deposit, Office and storage leases, eviction notice and credit
card charges

Control #: | Evidence Box: 7

Location: Storage Shed LocatorCode: J

Found: Box labeled goes to Judy's House

Description: Seized per Warrant 9 Back-up tapes and 9 Thumb Drives

Control #: 34 Evidence Box: 7

Location: Entry Way Locator Code: L

Found: In Bin on Floor

Description: Seized per Warrant Apple Ipad Pro S/N: DLXQKSHGMLM

Control #: 35 Evidence Box: 7

Location: Garage LocatorCode: A

Found: In Big Horn Gun Safe - Floor of Safe

Description: Seized per Warrant Business Back-up Tapes (60) - Eagan Avenatti

Control #: 36 Evidence Box: 5

Location: Garage LocatorCode: A

Found: In Big Horn Gun Safe - Floor of Safe

Description: Seized per Warrant Fed Ex for Avenaitti, note inside re: Augustus LLP

 

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Inventory Listing of All Items Seized at Search Warrant Site

Site Name:
4491 Rainbow Lane
Yorba Linda, CA 92886
Possible Taint
Residence Judy Regnier -
Possible Taint

Investigation Number:

Report Date:

1000290795 Monday, March 25, 2019

Starting Date and Time:

03/25/2019 10:16 AM

Ending Date and Time:

03/25/2019 04:19 PM

 

 

 

 

 

 

 

 

 

Control #: 1 Evidence Box: 1

Location: Storage Shed LocatorCode: J

Found: In Shed

Description: Seized per Warrant Corresponance dated July 28, 2017 from Foster & Pepper to
Michael Avenatti/ Eagan Avenatti RE: Tully's Coffee Asia
Pacific Annual Meeting Notice

Control #: 2 Evidence Box: 1

Location: Storage Shed LocatorCode: J

Found: In Shed

Description: Seized per Warrant Correspondance dated August 29, 2018 from Cappello &
Noe! LLP Trial Lawyers to Michael Avenatti, Avenatti &
Assoc. Re: 420, LLC Default

Control #: 3 Evidence Box: 1

Location: Storage Shed LocatorCode: J

Found: In Box

Description: Seized per Warrant In box labeled: "Judy's Office Box 2": Correspondance from
SBEMP Attorneys dated March 9, 2018 to Michael Avenatti,
Desert Harvest Dev. Re: Demand for Payment

Control #: 4 Evidence Box: 1

Location: Storage Shed LocatorCode: J

Found: In Box

Description: Seized per Warrant Five (5) Letters from Foster Pepper to Michael Avenatti Re:
"We're Still Here" Registration

Control #: 5 Evidence Box: 1

Location: Storage Shed Locator Code: J

Found: In Box

Description: Seized per Warrant In Box labeled: "Judy's Office". Correspondence dated

December 20, 2017 from Mehner CPAs to Michael Avenatti
RE: Marriage of Avenatti.

 

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Control #: 6 Evidence Box: 1

Location: Kitchen/Dine/Living LocatorCode: C

Found: On Floor of Living Room

Description: Seized per Warrant Correspondance dated Augusted 26, 2015 from Attorney's
Pansky Markle Ham to Michael Avenatti et al. Re: State Bar
Complaint and Letter from State Bar of CA Dated August 19,
2015 Re: the same

Control #: 7 Evidence Box: 1

Location: Storage Shed LocatorCode: J

Found: In Box Labeled "Judy"s Office Box 9"

Description: Seized per Warrant Correspondance dated Sept. 19, 2014 and October 14, 2016
from Foster Pepper to Michael Avenatti re: GB Autosports &
Doppio Inc. Legal Registrations.Letters dated January 5,
2017 and January 27, 2017 from Foster Pepper to Michael
Avenatti, Eagan Avenatti RE: Global Baristas legal entity
registration. Lefter from Foster Pepper dated April 24, 2017
to M. Avenatti/Eagan Avenatti Re: Delaware LLC tax notices.
Fax dated 2/28/2017 from Eagar Avenatti to Certificate
Specialist RE: Opinion Letter for Ikaria Resort Wear. Letter
dated Aug 10, 2016 from Foster Pepper to M. Avenatti/Global
Baristas Re: 2016 Annual Mtg Notice.

Control #: 8 Evidence Box: 1

Location: Storage Shed LocatorCode: J

Found: In Box

Description: Seized per Warrant Letter dated October 24, 2018 from Mix Sanders Thompson
to Global Baristas / M. Avenatti Re: Adams vs. Global
Baristas

Control #: 9 Evidence Box: 1

Location: Storage Shed LocatorCode: J

Found: In Box 11

Description: Seized per Warrant Foster Pepper Letter dated Mar. 8, 2017 Re: Global Baristas

US, LLC/2017 Legal Entity Registration, Foster Pepper Letter
dated Jan 2, 2015 Re: Global Baristas Asia, LLC and Global
Baristas US, LLC 2015 Annual Renewal Notices. Foster
Pepper Letter Dated March 9, 2015 Re: Global Baristas, LLC
and Global Baristas US, LLC 2015 Legal Entity Registrations
Foster Pepper Letter Dated Jun 30, 2015 Re: Tully's Coffee
Asia Pacific, Inc. 2015 Annual Meeting Notice. Foster
Pepper Letter Dated Dec 8, 2015 Re: Global Bariastas, LLC /
2015 Annual Renewal Notice

 

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Control #:

10 Evidence Box: 1

 

 

 

 

 

 

 

 

Location: Storage Shed Locator Code: J

Found: In Box 11

Description: Seized per Warrant Foster Pepper Letter dated Mar 8, 2017 Re: Global Baristas
US, LLC / 2017 Legal Entity Registration. Foster Pepper
Letter dated Jan 2, 2015 Re: Global Baristas Asia, LLC and
Global Baristas US, LLC 2015 Annau Personal Notices.
Foster Pepper Letter Dated Mar 9, 2015 Re: Global
Bariastas, LLC and Global Bariastas, LLC and Global
Bariastas US, LLC 2015 Legal Entity Regulations. Foster
Pepper Letter dated Jun 30, 2015 Re: Tully's Coffee Asia
Pacific, Inc. 2015 Annual Meeting Notice. Foster Pepper
Letter dated Dec 8, 2015 Re: Global Baristas, LLC/ 2015
Annaul Renewal Notice.

Control #: 11 Evidence Box: 1

Location: Storage Shed LocatorCode: J

Found: Box labeled Judy's Office - Box 12

Description: Seized per Warrant Correspondence dated July19, 2015 from Eagan Avenatti to
Julian Yniguez. Correspondence dated April 13, 2015 from
Eagan Avenatti to Jason Bernard

Control #: 12 Evidence Box: 1

Location: Storage Shed Locator Code: J

Found: On Floor in Box 11

Description: Seized per Warrant Nilan Johnson Lewis Dated June 25, 2015 RE: Professional
Services Agreement Farnham Street Financial, Inc. US
Global Bariastas. Summit Lan Group dated April 29, 2015 Re:
Settlement Agreement - Notice of Default. Foster Pepper
dated Mar 7, 2016 Re: Global Baristas US, LLC / 2016 Legal
Entity Registration. Foster Pepper dated Feb 3, 2016 Re:
Global Bariastas, LLC / 2016 Leal Entity Registration. Ralph
Palumbo Dated Nov 20, 2017 RE: Asia Food Culture Mgmt
PTE, LTD. vs. Global Baristas LLC

Control #: 13 Evidence Box: 1

Location: Storage Shed LocatorCode: J

Found: Between J-1 & J-2 on Floor

Description: Seized per Warrant Correspondance dated June 20, 2018 from Coblentz Patch
Duffy and Bass LLP to Micahel Avenatti & Lisa Storic -
Avenatti

Control #: 14 Evidence Box: 1

Location: Garage LocatorCode: A

Found: In Big Horn Gun Safe on Floor of Safe

Description: Seized per Warrant Redwell File Folder with itmes related to represenation of

Stephanie Clifford. Seized per paragraph C.17

 

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AES. 25/17
Department of the Treasury
Internal Revenue Service

CUSTODY RECEIPT FOR RETAINED OR SEIZED PROPERTY

IRS-Criminal Investigation Investigation
Los Angeles Field Office #100290795

Description of Property: One brown box containing receipts and invoices
pertaining to the business EAGAN AVENATTI and other financial records relating
to the personal and business finances of Michael AVENATTI eh years

2014- 20/4 Ineludtia Vesicle. re 5 fra Pays TCS,
p poll YeCord¢ iY VEC OYE Public records fr bed,
(ecords cnt Olher begat Fl (has «

Location of Property: Obtained from the residence of Judy Regnier, 4491
Rainbow Lane in Yorba Linda, CA. The box was located on the floor, near the
door, inside the “office” inside the residence on March 25, 2019.

Reason for Seizure: These items were within the scope of the search warrant
executed on March 25, 2019 at 4491 Rainbow Lane in Yorba Linda, CA but were
inadvertently left behind at the time of the warrant. Agents returned on March

26, 2019 to retrieve the original evidence, with the voluntary cooperation of Judy
Regnier.

Handed over by:

 

 

Judy Regnier = Cie Date 3! Dee pet
Received by:

Aimee E. Schabilion Vnweé Sobel. Date 2/20 [ iy
